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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                         CRIMINAL 13-0124-9CCC
 9) MIGUEL RIVERA-GONZALEZ,
 a/k/a “Cachao” (Counts One through
 Six)
 Defendant



                                 ORDER

      Having considered the Magistrate Judge’s Report and Recommendation
Re: Amendment 782 filed by U.S. Magistrate-Judge Justo Arenas on
January 31, 2015 (D.E. 1237), the same is APPROVED and ADOPTED.
Accordingly, as provided in the Administrative Directive issued in Misc.
No. 14-426(ADC), the United States, defense counsel and the U.S. Probation
Officer shall meet to discuss the Motion for Reduction of Sentence Pursuant
to 18 U.S.C. § 3582(c)(2) filed by defendant [9] Miguel Rivera-González on
December 30, 2014 (D.E. 1222) and act pursuant to the procedure established
in said Directive.
      SO ORDERED.
      At San Juan, Puerto Rico, on March 20, 2015.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
